                      Case 1:22-mj-00076-GMH Document 1 Filed 04/05/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
ARIAN TAHERZADEH, (DOB: XXXXXXXXX)                                   )      Case No.
HAIDER ALI, (DOB: XXXXXXXX)                                          )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of         February 2020 through the present         in the county of                                     in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 912 - False Impersonation of a Federal Officer




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                Complainant’s signature

                                                                                         David Elias, Special Agent
                                                                                                Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           Digitally signed by G. Michael
                                                                            G. Michael Harvey Harvey
Date:                                                                                                      Date: 2022.04.05 19:40:47 -04'00'
                  04/05/2022
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                                Printed name and title
